
NORTHCUTT, Judge.
E.R. challenges his delinquency adjudication for burglary and grand theft. We disagree with his contention that the State’s evidence was insufficient to prove the burglary charge beyond a reasonable doubt, and we affirm that adjudication without further discussion. However, we reverse E.R.’s adjudication for third-degree grand theft because the State did not prove that the value of the stolen property equaled or exceeded $300. See § 812.014(2)(c), Fla. Stat. (2000). The State’s failure to prove the value element of third-degree grand theft is fundamental error and may be raised for the first time on appeal. T.E.J. v. State, 749 So.2d 557, 558 (Fla. 2d DCA 2000). On remand, the circuit court shall reduce the grand theft charge to second-degree petit theft under section 812.014(3)(a).
We affirm the court’s restitution order.
Affirmed in part, reversed in part and remanded with directions.
ALTENBERND, A.C.J., and WHATLEY, J., Concur.
